    Case: 1:19-cv-06662 Document #: 125 Filed: 12/02/21 Page 1 of 3 PageID #:1753




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

THOMAS GEBKA, Individually and on                )
behalf of all others similarly situated,         )
                                                 )     Case No. 1:19-cv-06662
                        Plaintiff,               )
         v.                                      )     Hon. Sharon J. Coleman
                                                 )
ALLSTATE INSURANCE COMPANY,                      )     Mag. Jeffrey I. Cummings
a Delaware limited liability company,            )
                                                 )
                        Defendant.               )


         JOINT MOTION TO STAY PARTY DISCOVERY PENDING MEDIATION

         Plaintiff Thomas Gebka (“Plaintiff”) and Defendant Allstate Insurance Company

(“Allstate”) (collectively, the “Parties”), by and through their undersigned counsel of record, and

pursuant to Rule 29(b) of the Federal Rules of Civil Procedure respectfully and jointly request that

the Court stay party discovery to allow the Parties to conduct a mediation on February 10, 2022.

The Parties do not seek to stay non-party discovery, as some additional third-party information

must still be obtained prior to the mediation.

         On November 2, 2021, the Court issued an order setting forth certain deadlines relating to

discovery. Dkt. 123. Specifically, the Court ordered Allstate to respond to Plaintiff’s remaining

discovery requests and serve its own additional discovery requests by December 6, 2021. Id. In

addition, the Court directed the Parties to submit a joint status report on January 14, 2022, to advise

the Court on any remaining discovery or discovery disputes that would require the Court’s

attention. Id.

         Since that time, the Parties have agreed to hold a mediation with a JAMS mediator on

February 10, 2022, the first available date for the parties and the selected mediator. In light of the




46924107.1
    Case: 1:19-cv-06662 Document #: 125 Filed: 12/02/21 Page 2 of 3 PageID #:1754




upcoming mediation, and in order to conserve the resources of the Parties and the Court, the Parties

seek relief from the Court’s Order of November 2, 2021, requiring the Parties to engage in

additional discovery. The Parties further request that the Court allow the Parties to submit a status

report following the mediation of February 10, 2022. Rule 29(b) requires that any agreement

between the Parties that would interfere with a court ordered discovery deadline must be approved

by the Court.

         WHEREFORE, for the reasons stated herein, the Parties request that party discovery

deadlines in the Court’s Order of November 2, 2021, be stayed, pending the outcome of the

February 10, 2022 mediation.

Dated: December 2, 2021



                                      Respectfully submitted,

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46924107.1
    Case: 1:19-cv-06662 Document #: 125 Filed: 12/02/21 Page 3 of 3 PageID #:1755




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